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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  8:16CR59
                                               )
       vs.                                     )                    ORDER
                                               )
JERON MORRIS,                                  )
                                               )
                      Defendant.               )


       This matter is before the court on the pro se letter motion of defendant Jeron Morris
(Morris) to represent himself for the balance of these proceedings (Filing No. 38). The court
held a hearing on the motion on May 23, 2016. Morris was present with his counsel, Assistant
Federal Public Defender Karen M. Shanahan (AFPD Shanahan) . The United States was
represented by Assistant U.S. Attorney Susan T. Lehr (AUSA Lehr). Following an in camera
discussion with Morris and AFPD Shanahan and a cautionary instruction from the
undersigned, the court found Morris knowingly and voluntarily waived counsel and requested
to represent himself for the balance of the proceedings. AFPD Shanahan is relieved as
counsel for the defendant but will be appointed stand-by counsel to assist Morris for the
balance of the proceedings.
       Morris requested two weeks time to file pretrial motions. His request will be granted.
Morris understood the additional time would be excluded under the provisions of the Speedy
Trial computations.
       IT IS ORDERED:
       1.     Morris’ letter motion (Filing No. 38) is granted.
       2.     Assistant Federal Public Defender Karen M. Shanahan is appointed as stand-by
counsel for Morris.
       3.     Morris is given until June 8, 2016, in which to file any pretrial motions in
accordance with the progression order.
       4.     The ends of justice have been served by granting Morris' motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., the time between May 23, 2016, and June 8, 2016,
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shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       5.     The Clerk shall notate the docket that Morris is proceedings pro se. His
address is: Jeron Morris, No. 2133718/J-05, Douglas County Department of Corrections, 710
South 17th Street, Omaha, NE 68102.
       DATED this 23rd day of May, 2016.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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